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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 8:08CR147-001

                                                        USM Number 22309-047

MARILYN K. ADAMS
                        Defendant
                                                        JEFFREY L. THOMAS

                                                        Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                      (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count II of the Indictment on December 16, 2008.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                             Date Offense                Count
          Title, Section & Nature of Offense                  Concluded                 Number


 29:1131 FAILURE TO FILE REQUIRED FORM 5500              July 31,2005                      II
 REPORT

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count I of the Indictment is dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                        Date of Imposition of Sentence:
                                                                                         March 3, 2009

                                                                           s/Laurie Smith Camp
                                                                           United States District Judge

                                                                                 March 5, 2009
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 12 months and one day.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant be incarcerated in a federal facility as close to Omaha, Nebraska as
        possible.

2.      Defendant shall be given credit for time served and shall serve his time concurrent to any
        time imposed by the State of state.

The defendant shall surrender for service of sentence at the institution designated by the Bureau
of Prisons no earlier than May 1, 2009 by 2:00 p.m.
                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                             _____________________________
                                                                     Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3
years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                         STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
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13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.


                              SPECIAL CONDITIONS OF SUPERVISION


1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      The defendant shall submit his or her person, residence, office, or vehicle to a search conducted by
        a United States Probation Officer at any time; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

3.      The defendant shall participate in a victim awareness program as directed by the probation officer.
        Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program in an
        amount determined by the probation officer.

4.      The defendant shall attend, successfully complete, and pay for any mental health diagnostic
        evaluations and treatment or counseling programs as directed by the probation officer.

5.      The defendant is prohibited from incurring new credit charges or opening additional lines of credit
        without prior written approval of the probation officer.

6.      The defendant shall provide the probation officer with access to any requested financial information.

7.      The requirement of 18 U.S.C. § 3583 (d) regarding drug testing within fifteen (15) days of release on
        supervised release and at least two (2) periodic drug tests thereafter, is suspended until further order
        of the Court because the Presentence Investigation Report on the defendant and other reliable
        sentencing information indicates a low risk of future substance abuse by the defendant.

8.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
        Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
        Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and,
        thereafter, as directed by the probation officer.
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                      Total Fine                   Total Restitution
             $100.00                                                        $111,136.79



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

        interest requirement is waived.



                                               FINE

        No fine imposed.

                                           RESTITUTION

         Restitution in the amount of $111,136.79 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                               Priority Order
                              **Total Amount            Amount of              or Percentage
     Name of Payee                of Loss           Restitution Ordered         of Payment

 Bonnie Bowman                  $2,947.23                 $2,947.23                Priority
                                                                            Order/Percentage

 Steven Brown                     $82.65                   $82.65                  Priority
                                                                            Order/Percentage

 Timothy Cummings               $12,331.33                $12,331.33               Priority
                                                                            Order/Percentage

 Michael D. Daubert               $83.31                   $83.31                  Priority
                                                                            Order/Percentage

 Mark Dunn                      $5,419.24                 $5,419.24                Priority
                                                                            Order/Percentage

 Chris Hansen                   $1,828.83                 $1,828.83                Priority
                                                                            Order/Percentage
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 Rob Heitman                  $2,845.20              $2,845.20                Priority
                                                                       Order/Percentage

 Mary Hensley                 $1,195.40              $1,195.40                Priority
                                                                       Order/Percentage

 Cindy Hicks                   $221.40               $221.40                  Priority
                                                                       Order/Percentage

 Barbara Hill                  $836.66               $836.66                  Priority
                                                                       Order/Percentage

 Shelley A. Hofman            $15,866.86            $15,866.86                Priority
                                                                       Order/Percentage

 Mary Horack                  $2,651.89              $2,651.89                Priority
                                                                       Order/Percentage

 Amanda R. Howell             $2,935.52              $2,935.52                Priority
                                                                       Order/Percentage

 Dianne Kendall                $112.66               $112.66                  Priority
                                                                       Order/Percentage

 Steve Lawrence               $6,505.74              $6,505.74                Priority
                                                                       Order/Percentage

 Kasey L. Lindberg             $66.15                 $66.15                  Priority
                                                                       Order/Percentage

 Bruce Marcus                  $68.60                 $68.60                  Priority
                                                                       Order/Percentage

 Pamela Masterson              $334.34               $334.34                  Priority
                                                                       Order/Percentage

 Scott D. Mayer                $346.96               $346.96                  Priority
                                                                       Order/Percentage

 Deborah J. Mayfield          $2,781.31              $2,781.31                Priority
                                                                       Order/Percentage

 Linda Kay McAlvain           $1,538.04              $1,538.04                Priority
                                                                       Order/Percentage

 Jackson McCorkle             $5,819.95              $5,819.95                Priority
                                                                       Order/Percentage

 Mark Miller                  $7,021.31              $7,021.31                Priority
                                                                       Order/Percentage

 Rachel Orsborn               $1,544.24              $1,544.24                Priority
                                                                       Order/Percentage

 Yasmin J. Pave                $577.20               $577.20                  Priority
                                                                       Order/Percentage

 Sheri L Poulsen              $1,032.60              $1,032.60                Priority
                                                                       Order/Percentage

 Melissa Reagan-               $258.74               $258.74                  Priority
 Chacon                                                                Order/Percentage
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 Scarlet D. Redpath                 $1,046.71                  $1,046.71                  Priority
                                                                                   Order/Percentage

 Michael D. Reynolds                $3,256.35                  $3,256.35                  Priority
                                                                                   Order/Percentage

 Inger Reynolds                     $4,108.62                  $4,108.62                  Priority
                                                                                   Order/Percentage

 Christopher Rhodes                $11,084.93                 $11,084.93                  Priority
                                                                                   Order/Percentage

 Karen Roy                           $210.67                    $210.67                   Priority
                                                                                   Order/Percentage

 Brian Scobee                        $613.07                    $613.07                   Priority
                                                                                   Order/Percentage

 Robert Semkus                      $1,794.76                  $1,794.76                  Priority
                                                                                   Order/Percentage

 Ross Stratton                      $4,732.61                  $4,732.61                  Priority
                                                                                   Order/Percentage

 Ginger Toomey                      $3,674.96                  $3,674.96                  Priority
                                                                                   Order/Percentage

 Brian A. Walsh                      $998.87                    $998.87                   Priority
                                                                                   Order/Percentage

 Tauri Wicklund                     $1,747.29                  $1,747.29                  Priority
                                                                                   Order/Percentage

 Christian Yanarella                 $614.59                    $614.59                   Priority
                                                                                   Order/Percentage

 Totals                           $111,136.79                 $111,136.79


          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                     SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated
to pay said sum immediately if he or she has the capacity to do so. The United States of America
may institute civil collection proceedings at any time to satisfy all or any portion of the criminal
monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program,
the defendant shall pay 50% of the available inmate institutional funds per quarter towards the
criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.
 Restitution is hereby ordered jointly and severally with: Jeffrey L. Adams, 8:08CR147.
CLERK’S OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
